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             MISSISSIPPI DEPARTMENT OF CHILD PROTECTION SERVICES




                     Recruitment, Hiring and Retention Plan



                           Submitted: May 25, 2016



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I.      Summary
Pursuant to §6.b of the Interim Remedial Order, the Mississippi Department of Child Protection
Services (DCPS)submits this Recruitment, Hiring and Retention Plan. The workforce plan will
focus on selecting, onboarding and developing a competent child welfare staff. Our primary
emphasis is to ensure caseloads are manageable with sufficient staff to effectively manage
them. Though it can be very rewarding, child welfare work is also extremely challenging.
Secondary traumatic stress, burnout, and turnover historically impact the longevity of child
welfare workers in their roles. We believe decreased workloads, increased salaries, the
deployment of enhanced technology, and competent supervision will support recruitment and
retention of child welfare staff as well as improve the public's confidence in the agency's ability
and capacity to keep children safe and strengthen families.

II.     Analyzing Staffing Needs
In accordance with §6.a. of the Interim Remedial Order, DCPS worked with Public Catalyst to
complete a point in time caseload audit based upon the new weighted caseload standards set
forth in the November 24, 2015 Organizational Analysis. The new standards will no longer use a
minutes-based methodology but a clear weighted formula for caseload carrying staff, including
those that carry more than one type of case. Applying these standards to the caseload audit
coupled with accounting for vacancies and regular turnover will determine the number of staff
the department needs to create manageable workloads.

As part of the audit process, DCPS identified the counties or regions that would need support to
complete the workload counts and validation. An audit support team lead was assigned to a
specific county or region to assist with the processes. Counties without a team lead had a
designated point person to work within the remaining counties in the region to conduct and
complete the workload audits.

 Field Operations provided staff with service type definitions and counting instructions for
 reviewing and validating the accuracy of the assigned investigations, inquiries, resource homes
assigned for supervision, and foster care and in-home cases. Findings were recorded using an
 Excel template provided by Public Catalyst. This process was completed for all workers
(including licensure/adoption staff) and ASWSs. During the review and validation, edits to
 Family Service Plans (FSP) were made as needed to ensure that the correct direct services were
assigned to case members, inquiries that were no longer needed were closed, and foster homes
 were assigned to licensure and adoption staff.

A subgroup of team leads convened after the workload audits were complete to combine the
results from all counties and tally the direct services by ASWS/worker, region and then
ultimately the state totals. The caseload standards that were used are described in the chart
below.




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DCPS New Caseload Standards

                 Role                         Standards                 Weight Per Case -
                                                                         100% Capacity
 Child Protection Workers                  14 Investigations                0.0714
(Investigations Level 2 and 3)
 Ongoing Foster Care Workers                  14 children                    0.0714
(Placement Responsibility & Service)
 Ongoing Foster Care Workers                                                 0.0357
(Placement County of Responsibility)
 Ongoing Foster Care Workers                                                 0.0357
(Placement County of Service)
 I n-Home Protection Workers                  17 families                    0.0588
(Protection Responsibility & Service
 and ICPC Incoming)
 I n —Home Protection Workers                                                0.0294
(Protection County of Responsibility)
 I n-Home Protection Workers                                                 0.0294
(Protection County of Service)
 I n-Home Dependency/Prevention               25 families                       0.04
 Workers
(Prevention Responsibility & Service)
 I n-Home Dependency/Prevention                                                 0.02
 Workers
(Prevention County of Responsibility)
 In-Home Dependency/Prevention                                                  0.02
 Workers
(Prevention County of Service)
 New Application Licensing Workers            15 homes                       0.0667
(Resource Inquiry, ICPC Application
 and Resource Home Study)
 Renewal Licensing Workers                    36 homes                       0.0278
(Resource Home Supervision and
 Resource Renewal)
Adoption Workers                              9 children                     0.1111
(Adoption County of Service)
Abuse and Neglect Intake Workers              118 Intakes                    0.0085


After completing the analysis of existing staff, vacancies and turnover employing the new
caseloads weights, DCPS has determined 509 additional positions are needed to bring
workloads to a manageable level. The division arrived at this number by totaling the number of
current frontline and resource staff, the number of vacant positions, and the staff presently in
training to identify the total number of current positions available. The number of vacancies
was then subtracted from the number the audit shows the agency needs to get a total number
of new positions that need to be allocated to each region. The same methodology was used for


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ASWS staff. For each county, the number was rounded to the nearest whole number to create
a position. Based on the information related to turnover we have at this time it appears the
agency has a turnover rate of around 15%. To account for this turnover a 15% increase in
positions by county was included in the total number of staff needed. This number was also
rounded up to the nearest whole number. A table of current staffing and new positions
needed, by type, within in each region or county is attached as Appendix A.

These caseload weights and updated workload reports and methodology will be also used to
forecast the number of staff needed for future budget requests by the agency. Since the prior
and new caseload data are calculated using different methodologies, we are not able to readily
compare any previous workload trends. Going forward, a workload of 1.0 will help us evaluate
whether a new PIN is needed in that county. Supervisor ratios will remain 5 workers to 1 ASWS.

III.       Managing the Onboarding Process
Hiring Infrastructure and Objectives
DCPS is currently establishing its own "in-but-not-of-"structure for Human Resources. This
construct will enable us to utilize the existing MDHS structure while building our own human
resources capacity. In the immediate future, DCPS Human Resources has three objectives:

       1. Initiate a streamlined, efficient hiring process;
       2. Hire support staff in the regions to serve as single points of contact for all personnel
          transactions; and
       3. Facilitate a transition plan to take over all aspects of human resources services.

The goal of the newly established DCPS Human Resources unit is to provide support to the State
Office and the field so that the focus of regional and county office work can be on the families
and children served by DCPS staff. Human Resources services include, but are not limited to,
recruitment for vacant positions, processing new hires and separations, facilitating agency
organizational structure and job classifications, documentation of time-cards including payroll,
tax information, making efficient use of agency positions, maintaining compliance with
employment laws and regulations, facilities maintenance, and partnering with the Professional
Development Unit to onboard field staff.

Recruiting Staff
The barriers to hiring staff have historically been related to low salaries with increased
educational requirements. As a result there are areas of the state that have experienced
challenges with hiring. We believe with increased salary, changes in the ASWS job
q ualifications, and increased supervisory support due to lower workload, we will be able to
break through these barriers.

On July 1, 2016, DCPS HR will not operate under the purview of the Mississippi State Personnel
Board (SPB). However, DCPS HR will utilize their services in order to effectively recruit qualified
a pplicants. DCPS HR will advertise the positions below on the agency's new website and SPB
website for continuous recruiting of these positions.

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   •   DHS-Family Protection Worker 1/4554
   •   DHS-Family Protection Worker 11/4555
   •   DHS-Family Protection Specialist/4556
   •   DHS-Family Protection Specialist Senior/4557
   •   DHS-Family Protection Specialist Advanced/4558
   •   DHS — ASWS/3745

The personnel officer or single point of contact for hiring in the field may contact the processing
administrator at State Office to receive a list of qualified applicants in that hiring agent's region
within two business days of the request. This request will be made electronically and the list
will be sent electronically to expedite the process.

In addition to the SPB website, DCPS will continue to recruit through university job boards,job
fairs and by communicating with the various schools of Social Work in an effort to recruit their
recent graduates and alumni. Field Operations is making contact with all of the schools of
Social Work in Mississippi as well as universities in bordering states within close proximity to
share information relating to salary increases and vacancies. DCPS is designing a brochure to
disseminate to Ivy League universities to attract recent graduates.

Olivia Y. Priority Hiring Process

For SFY 2017, DCPS requested additional funds to hire 142 frontline workers,
licensure/adoption workers and 28 field supervisors, and support staff positions. As of April 18,
2016, there were 195 vacancies. The caseload audit data revealed a need to adjust and re-
allocate positions to address staffing needs in field operations. The direct services staff is
assigned by county and the licensure/adoption staff is by region. A table of new PIN
allocations is attached in Appendix B.

 Utilizing the results of the staffing analysis based on the caseload audit(Appendix A), DCPS
intends to fill 285 frontline positions with qualified applicants on an expedited basis, as follows:

                                                     Frontline Positions to be
             Priority Hiring Schedule                Filled
             April —June 2016                                       75
             July —September 2016                                  120
             October— December 2016                                 90
             TOTAL                                                 285



If more than the allocated number of staff is hired in the time periods listed above, the overage
of staff will be added to the following quarter.

A Division Director II assigned to the Professional Development Unit will oversee
i mplementation of the Recruitment, Hiring and Retention Plan.

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DCPS HR will implement the following steps and guidelines with the field in order to streamline
and expedite the hiring process. Details of the current and planned hiring processes are
outlined in Appendix C.

   • A HR team will travel from State Office to the highest needs areas to expedite
      processing. This team will be equipped with all of the forms and supplies needed to
     complete hiring packets on site. The state of Mississippi Human Resources database
     (SPHARS) shuts down every year two weeks prior to the end of the fiscal year.
     Therefore, DCPS will be unable to enter any personnel transactions between June 15
     and July 5. However, DCPS will utilize this time to mobilize teams to conduct
      recruitment activity, interview qualified applicants, and obtain all necessary documents
     for the targeted areas.

   • DCPS HR will hire additional State Office staff to process new hire packets, which will
     reduce delays in the HR processes.

   • DCPS will implement DocuSign HR paperwork. This will streamline the signature
     approval for hiring field staff. Currently, the action form requires signature from the
     hiring supervisor, the division director, finance and budgets, and executive office prior
     to being sent to HR. Beginning July 1, 2016, DCPS will accept scanned applications from
     the field. Therefore, the field will not have to rely upon originals being mailed to state
     office prior to action taken on a recommendation.

   • On July 1, 2016, SPB will no longer determine the minimum qualifications of a particular
     position. DCPS HR will determine if applicants meet the minimum qualifications prior to
     extending an offer of employment. These minimum qualifications will be determined by
     the job descriptions below:

                                                                                 Minimum
Position                                    Function                             Qualifications
                                                                                 BS/BA in related
DHS Family Protection Worker I              Frontline worker                     field
                                            Frontline worker, Regional           BS/BA in related
                                            Independent Living worker,           field year + 1 year
DHS Family Protection Worker II             Fingerprint Coordinator, etc.        of experience
DHS Family Protection Specialist            Frontline worker                     BSW
                                                                                 BSW +2 years of
DHS Family Protection Specialist            Licensure                            experience
                                            Senior level frontline practice,     LSW +2 years of
                                            required for adoption specialist     experience or LSW
DHS Family Protection Specialist Senior     position                             and MSW
                                                                                 LSW +4 years of
                                            Advanced level frontline practice,   experience or LSW
                                            Foster Care Review, Evaluation and   and MSW +2 years
DHS Family Protection Specialist Advanced   Monitoring                           of experience

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                                                                                   Minimum
Position                                   Function                                Qualifications
                                                                                   LSW +4 years of
                                                                                   experience or LSW
                                                                                   and in school + 3
                                                                                   years of
                                                                                   experience or LSW
                                           County or unit level                    and MSW +2 years
OHS Area Social Work Supervisor            supervisor/manager                      of experience

                                                                                   LSW + 6 years of
                                                                                   experience OR
                                                                                   LSW and MSW + 3
                                                                                   years of
DHS Regional Social Work Supervisors       Regional level supervisor               experience

Training and Retention
Through a partnership with a public university and agency consultants in Mississippi, the
Professional Development unit offers many levels of training. The Pre-Service Training consists
of over 270 hours of both classroom and field work culminating in an exam which new workers
m ust pass prior to receiving a caseload. The proposed plan is to shift the prior schedule of new
classes beginning every eight weeks to scheduling classes every month, except December, with
two training classes in July 2016, September 2016, January 2017, and May 2017. This will
enable us to train at least 613 staff in the July 2016 —June 2017 training year, representing an
increase of 396 more staff than the 217 staff we have trained this fiscal year. The chart below
represents the number of staff who can begin training each month over the next year pending a
signed contract with our university partner.

                                                    Number of
             Month to begin Training                slots
                                                    available
             April 2016                             48
             J une 2016                             25
             J uly 2016                             60
             August 2016                            30
             September 2016                         60
             October 2016                           90
             November 2016                          30
             January 2017                           90
             February 2017                          30
             March 2017                             60
             April 2017                             30
             May 2017                               60
             Total                                  613


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The tuition reimbursement program is an excellent tool for both recruitment and retention of
staff. The agency has partnerships with state public universities to offer MSW courses in a
compressed number of days. This offers staff the opportunity to receive a Master's in Social
Work while maintaining full-time employment with the agency. If an employee elects to
participate in the MSW cohort, they will work on a compressed schedule, which consists of
eight 9-hour workdays and one 8-hour day per period with a day off on either every other
Monday or every other Friday. In addition to the cohort contracts, the scholarship program will
pay for the employee's education. The compressed schedule is also available to staff who are
not in a cohort program and this is a very attractive incentive to many current staff and newly
hired staff.

Facilities & Equipment

DCPS determined the need to develop a more effective onboarding process to accommodate
new employees with facilities and equipment/commodities. MDHS has identified a designee to
coordinate office space for MDHS and DCPS. This individual has all of the necessary resources
available to him to accomplish this task. We can currently accommodate 156 new staff in our
existing offices. We are working with the MDHS designee to evaluate the current need. Once
the needs have been identified, we will continue to work with MDHS to secure office space.

The request for appropriations included the need for equipment, including computers, phones,
and tablets as well as, compensation for travel and commodities in the budget request. These
are accounted for and will be provided upon hire of each new employee.

The agency is in the process of equipping tablets and smartphones to frontline staff and
supervisors. The availability of enhanced technology will allow our staff to do their work more
efficiently.

Data Tracking and Trends
DCPS is developing procedures in the Human Resources Unit for tracking and reporting on
newly hired staff as well as turnover of existing staff.

The former MDHS Human Resources Director conducted a hand audit of separations from the
agency (DCPS — division code 0662). The potential separation codes were: Death, Dismissed,
Voluntary Separation, Inter or Intra Agency Transfer, and Other. As data quality issues may
exist in tracking trends in separations, promotions and movement within the agency, the newly
established DCPS HR intends to address this lack of data reporting capability systematically. In
order to develop a more valid and reliable tracking system for separations from the agency, to
identify trends in turnover, and to facilitate targeted recruitment and retention efforts, DCPS
HR will begin tracking all terminations, voluntary and involuntary on July 1, 2016. The
estimated 180 agency separations will be tracked using an Excel spreadsheet for data trending
and reporting using the format below:


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Last    First   PIN   County   Position   217        Hire        Separation   Reason        Classification   Time-     Notes
                                          Received   Date        Date                       of Position      limited
                                                                                                             State-
                                                                                                             Service
Doe     John    123   Hinds    ASWS       1/2/3      1/3/4       1/4/5        Termination   Resource         State     Policy
                                                                                            Supervisor       Service   violations


Doe     Jim     456   Hinds    FPSA       2/3/4      4/5/4       4/5/15       Intra-        Special          State     Went to
                                                                              Agency        Investigator     service   health
                                                                              Transfer                                 dept




Doe     Jill    789   Hinds    FPS        2/2/2      2/4/3       12/3/14      Other         Frontline        Time-     private
                                                                              employment                     limited   sector




The DCPS HR Division Director will compare this manual tracking to SPAHRS data once a month.
Since these will be new efforts, not previously tracked by this unit, it may be realized in the next
12 months that other reporting capabilities or efficiencies exist. If that is the case, a new
tracking plan will be created. If the plan is successful in reliably tracking separation data, this
tracking system will be implemented for other trends in the workforce, such as tracking
promotions and movement between units in the agency. Additionally, the DCPS HR Division
Director will validate the data using budget reports and funding codes from SPB.




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                                                                                                                                                                                                          ,     I-,                 I-,
                                                                                                                                                                                                                                           #of Filled ASWS
                                                                                                                                                                                                                                           Positions
                              Cri                             1-.1     U.)      1-I                                                                U.)                                                                     1-1
                                                                                                                                                                                                                                                                       Filed 09/03/19




                                                                                                                                                                                                                                           #of Vacant ASWS
                                                                                                                                                                                                                                           Positions
0 1-
   ,           VI    1-1      NJ     Ul     I-, I-' 0 0                         NJ 0           0 1-
                                                                                                  , 0                       NJ     0              0        0           0            I-,           0      NJ    0 0 0
                                                                                                                                                                                                                                           #of New ASWS Positions
                                                                                                                                                                                                                                           Needed to Meet
                                                                                                                                                                                                                                           Caseload Standards
••••.1   1-,   I-, I-1        01     I-, 03          I-
                                                      , Crl           -P.      03        -P.   0 UJ              -P.        1-,     -P.            U-)      VD          U-1         -P            Cr)    61     CJI        I-
                                                                                                                                                                                                                            , .P.
               NJ NJ          U.)    U.)                               m                                                    o                      -P.                                                                                     Total Current Staff &
                                                                                                                                                                                                                                           ASWS Allocation
                                                                                                                                                                                                                                                                       Page 11 of 17




0 U.)          NJ                           U-)      N.)      1-, Lil           CM       I-1   0 NJ              ,
                                                                                                                 I-         03      1--
                                                                                                                                      ,           .P.       N...)       I-
                                                                                                                                                                         ,           NJ           0      I-,   0 0                  I--‘
               4=.            I--,   01                                                                                                                                                                  I                                 New Allocation of Staff &
                                                                                                                                                                                                                                           ASWS
cri     (xi         cri    cri        cri     ui        in    c.r Lp          t.,,    cri        cri          Lp (In           -P. -P. -P.             -P. -P. -P. -P.                   .P      -I . -1 .           -I . -Ip               -fp        -IP      -r .   Region
                                                        Mi m          m m             m          m            m m              Ln Lf) Lf)             (-n Ln Lil 61                      Z Z Z                      Z Z Z Z Z

                    -II                               0 70            v) r--                                                                                                      n
                    "
                    0.)                                               — - R.                                                                                       iET            ET     m                                                                      (1) County
                                                         a            9                                                                                            =                    *--.




Pike
                    =                                 F; -            0                                                                                            (D               n                                                                           2
                     -                                a) 0                                                                                                         0              m (r) 0




                                                              Smith
                                                                                                                                                                                                                                                                -a




                                      Amite
                                                                                                                         Office
                                                                      0 o —




                                                                                                                                                                         Jasper




                                                                                                                         Copia h




                                              Adams
                                                         =                                                                                                                               =




                                                                                                                                     Wayne
                                                                      0 =                                                                                                                                                                                        ro




                                                                                                                                             Newton
                    5'                                   cu                                                                                                                              o)




                                                                                                                                                                                                Winston
                                                                      =




                                                                                                                                                                                                          Webster




                                                                                                                         Regional
                                                                                                                                                                                                                                            Neshoba




        Jefferson
                                                                                                                                                                                                                                                      Lowndes


                                                                                                                                                                                                                                N oxu bee




                                                                                                Jeff Davis




                          Claiborne
                                                                                     Lawrence
                                                                                                             Covington
                                                                                                                                                                                                                    Oktibbeha




                                                                                                                                                      Lauderdale
•--.1    NJ         NJ     1-n         NJ     00              NJ      *.--)   Cr)     NJ         Ul           W          00          -P. I-            1-n         01     NJ      I-,           -P         NJ       -P           NJ          U'7      I-n NJ
                                                                                                                                                       -                                                                                              0                # of Filled Frontline

                                                                                                                                                                                                                                                                       Worker Positions
Ci.)                       NJ                 I-                      1-n     NJ      1-->                                           1-, 1-n           W           UJ    I-n                               I-n       NJ                      1-n       NJ
                                                                                                                                                                                                                                                                       # of Vacant Frontline
                                                                                                                                                                                                                                                                       Worker Positions
©        i.--       I-,   0 1-, 1-,                           1-, 1-n         1-,    0           I-n          1-
                                                                                                               , NJ                  0 W               4. 00 0 NJ                               1-, 0               0 1-, 0 1-n                                 1-,
                                                                                                                                                                                                                                                                       # of New Frontline
                                                                                                                                                                                                                                                                       Worker Positions Needed
                                                                                                                                                                                                                                                                       to Meet Caseload
                                                                                                                                                                                                                                                                                                   Case 3:04-cv-00251-HSO-ASH




                                                                                                                                                                                                                                                                       Standards
                                                        cr,                                                                    cr)                                                      ,...i
                                                                                                                                                                                                                                                                       # of Filled Licensing &
                                                                                                                                                                                                                                                                       Adoption Worker
                                                                                                                                                                                                                                                                       Positions
                                                        o                                                                      o                                                         o
                                                                                                                                                                                                                                                                       # of Vacant Licensing &
                                                                                                                                                                                                                                                                       Adoption Worker
                                                                                                                                                                                                                                                                       Positions
                                                                                                                                                                                                                                                                                                   Document 857-4




                                                        -.1                                                                    1-
                                                                                                                               N)                                                        00                                                                            # of New Licensing &
                                                                                                                                                                                                                                                                       Adoption Worker
                                                                                                                                                                                                                                                                       Positions Needed to
                                                                                                                                                                                                                                                                       Meet Caseload Standards
W                          I-,                N)        I-,           NJ      NJ     1-
                                                                                      ,          1--,         1-
                                                                                                               ,               U.)                     -P          1-n   1-, 1-,         N.) n)                      1--, i--, i--‘                    NJ
                                                                                                                                                                                                                                                                       # of Filled ASWS
                                                                                                                                                                                                                                                                       Positions
         -
         i                            1--.,                   i--, I-,                                        1--, NJ                1-n                                          1-,                      I-n                              1-,
                                                                                                                                                                                                                                                                                                   Filed 09/03/19




                                                                                                                                                                                                                                                                       # of Vacant ASWS
                                                                                                                                                                                                                                                                       Positions
O       0 I-              0 0 0                         NJ 0 0 0                     0           1-4         0 0               i-L 0 1-,              0 c),-) 0 0                        1---, 0 0                   I-, 0 0 ,
                                                                                                                                                                                                                             I- i-- ,
                                                                                                                                                                                                                                                                       # of New ASWS Positions
                                                                                                                                                                                                                                                                       Needed to Meet
                                                                                                                                                                                                                                                                       Caseload Standards
-
1,       U.)        N.)   -P.         U.) I-1           -.1   U.) 1-, 1-,             -P.        Cr)          U-1        i-,   t.t) C) N..)            I-, i-, -IP, U.)                  LO     CT) -P.              '...1       U.) 00 I-, N..)
U.)                                       I-,                     -
                                                                  i, 0                                                   0                             co 0                                                                             -IP.                           Total Current Staff &
                                                                                                                                                                                                                                                                       ASWS Allocation
                                                                                                                                                                                                                                                                                                   Page 12 of 17




0        1--, ts.)        0 I-                N         co    I-      i-4     N      0           n.)         ,
                                                                                                             t- N)             }-> 0 -P.               -P          }-, 0 N.)             co     }         0         i-           1-, 0 NJ                       NJ
                                                                                                                               U.)                                 1-,                                                                                                 New Allocation of Staff &
                                                                                                                                                                                                                                                                       ASWS
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                                                                                                                                                       Meet Caseload Standards




                                                                                                                                                                                                                                                                          New Allocation of Staff &
                                                                           Worker Positions Needed




                                                                                                                                                                                                                        # of New ASWS Positions
                                                                                                                              #of Vacant Licensing &
                                                                                                     #of Filled Licensing &




                                                                                                                                                       #of New Licensing &




                                                                                                                                                                                                                                                  Total Current Staff &
                                                    #of Vacant Frontline




                                                                                                                                                       Positions Needed to




                                                                                                                                                                                                                        Caseload Standards
                             #of Filled Frontline




                                                                           #of New Frontline




                                                                                                                              Adoption Worker




                                                                                                                                                                                                    # of Vacant ASWS
                                                                           to Meet Caseload



                                                                                                     Adoption Worker




                                                                                                                                                       Adoption Worker
                             Worker Positions


                                                    Worker Positions




                                                                                                                                                                                                                        Needed to Meet



                                                                                                                                                                                                                                                  ASWS Allocation
                                                                                                                                                                                 # of Filled ASWS
                                                                           Standards




                                                                                                                                                                                 Positions


                                                                                                                                                                                                    Positions
                                                                                                     Positions



                                                                                                                              Positions
             County
    Region




                                                                                                                                                                                                                                                                          ASWS
   5-W       Walthall       4                                              1                                                                                                     1                                     0                          5                       1

   5-W       Wilkinson      1                                              1                                                                                                                                           1                          1                       2

   5-W       Regional                                                                                8                        2                        1                         2                                     2                          12                      3
             Office
   6         Forrest        17                      9                      0                                                                                                     5                  2                  0                          33                      0
   6         Lamar          5                       1                      3                                                                                                     1                                     1                          7                       4
   6         Marion         9                       4                      8                                                                                                     2                  1                  2                          16                      10
   6         Pearl River    13                      4                      3                                                                                                     3                                     1                          20                      4

   6         Perry          2                       1                      1                                                                                                     1                                     0                          4                       1
   6         Stone          8                       1                      2                                                                                                     1                  1                  1                          11                      3
   6         Regional                                                                                9                        2                        38                        3                                     7                          14                      45
             Office
   7-E       George         3                       2                      4                                                                                                                        1                  1                          6                       5
   7-E       Greene         2                       1                      1                                                                                                                                           1                          3                       2
   7-E       Jackson        26                      4                      6                                                                                                     7                  1                  0                          38                      6
   7-E       Regional                                                                                8                        1                        17                        2                                     4                          11                      21
             Office
   7-W       Hancock        30                      6                      0                                                                                                     8                                     0                          44                      0
   7-W       Regional                                                                                5                        1                        0                         2                                     0                          8                       0
             Office
   7-W       Harrison       53                      12                     30                                                                                                    11                 3                  5                          79                      35

   7-W       Regional                                                                                12                       1                        46                        3                                     9                          16                      55
             Office
             Totals         548                     142                    178                       121                      12                       233                       154                41                 98                         1018                    5091




1 The New Allocation of Staff and ASWS column are a current two year goal to address staffing needs identified during the Workload Audit. For
SFY2017, we have received funding for 255 additional field staff positions. The agency will use the most current workload data available for
budget requests for SFY2018.
                                                                       12
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                        Appendix B — DCPS Staff PIN Allocations for July 1, 2016

     ect Service and ASWS PINS to be Received July 1,    esource PINS to be Received July
            County                                            ,y Region
1N                      DS Workers           ASWS       1N              Staff        ASWS
Alcorn                                   3          0   Adoption                7               2 Total ASWS     6
Desoto                                   2          0   Licensure               7               2 Total Staff    25
Tippah                                  4           1   Total                   14
Tishomingo                               2          1
Total                                  11           2


1S                      DS Workers           ASWS       1S              Staff        ASWS
Lee                                      2          0   Adoption                5               1   Total ASWS   2
Monroe                                   2          0   Licensure               5               1 Total Staff    15
Pontotoc                                 1          0   Total                   10              2
Total                                   5           0

2E                      DS Workers           ASWS       2E              Staff        ASWS
Montgomery                               1          0   Adoption                2    1 either       Total ASWS
Yalabusha                                1          0   Licensure               1               0 Total Staff    5
Total                                    2          0   Total                   3               1


2W                      DS Workers           ASWS       2W              Staff        ASWS 417
Washington                              5           1   Adoption                0 1 either          Total ASWS   2
Total                                   5           1   Licensure               2               0 Total Staff    7
                                                        Total                   2               1
3N                      DS Workers           ASWS
Rankin                                   5          1   3N              Staff        ASWS
Madison                                  2          1   Adoption                4               1 Total ASWS     4
Yazoo                                    1          0   Licensure               4               1 Total Staff    16
Total                                   8           2   Total                   8               2


35                      DS Workers           ASWS       3S              Staff        ASWS
Hinds                                   5           1   Adoption                5               1 Total ASWS     4
Warren                                   2          1   Licensure               5               1 Total Staff    17
Total                                   7           2   Total                   10              2




                                                        13
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Direct Service and ASWS PINS to be Received July 1,   Resou
2016 - By County                                      2016 - By Region
4N                  DS Workers            ASWS        4N                 Staff        ASWS
Oktibbeha                             2           1   Adoption                                       Total ASWS    2
Lowndes                               1           0   Licensu re                 1               0 Total Staff     6
Total                                 3           1   Total                      3               1


4S                  DS Workers            ASWS        4S                 Staff        ASWS
Jones                                5            1   Adoption                   2 1 either          Total ASWS    3
Lauderdale                            3           1   Licensure                  2               0 I Total Staff   13
Newton                                1           0   Total                      4               1
Total                                9            2


5E                  DS Workers            ASWS        5E                 Staff        ASWS
Simpson                               2           0   Adoption                   1    1 either       Total ASWS    1
                                                      Licensure                  2               0 Total Staff     5



5W                  DS Workers            ASWS        5W                 Staff        ASWS
Pike                                  2           1   Adoption                   0               0 Total ASWS      1
Total                                 2           1   Licensure                  0               0 Total Staff     2
                                                      Total                      0               0


6                   DS Workers            ASWS        6                  Staff        ASWS
Marion                               5            1   Adoption                   11              3 Total ASWS      9
Pearl River                          4            1   Licensure                  11              4 Total Staff     32
Stone                                 1           0   Total                      22              7
Total                               10            2




                                                      14
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Direct Service and ASWS ,.I:-S: o   Re                Resource PINS to be Received July 1
1,2016 - By Count.                                    -   Region
                                                      7E                  Staff        ASWS
                                                      Adoption                    4            1 Total ASWS
                                                      Licensure                   4            1 Total Staff
                                                      Total                       8


7W                DS Workers             ASWS         7W Harrison         Staff        ASWS
Harrison                            20           4    Adoption                    10           2 Total ASWS
Total                               20           4    Licensure                   15           4 Total Staff
                                                      Total                       25           6


7W                DS Workers             ASWS         7W Hancock          Staff        ASWS
Hancock                             0            0    Adoption                    3            1 Total ASWS
Total                               0            0    Licensure                   1            0 Total Staff
                                                      Total                       4            1



                                                      State Total         ASWS
                                                                          Staff




                                                      15
                                                                                                 Appendix C — DCPS Hiring Plan


     Identity Vacant P N's fcr each Feld                                            Mississippi Department of Child Protection Services
     Office or SO Departra Mt and NotifF
    Regional Director cr Personnel Officer
            or 50 Bureau Director                                                                                           Core Hiring Processes
     FesponsibleStaffs NDCPS HP SPOIV
                                                                                       List of Elgible candidates iert to firing                                                                                         Ihnitten approvals received From Office Director,
                                                                                         Agentto select S to 8cancHlares for                                                                                               Budgets and Accaonting and Executive Office
                                                                                            interview-List issent from RR if
                                                                                       requested. Counties nay also maintain                                                                                            HR a.ppreva and Entry into SPAHRS afterReceipt of
                                                                                        their Gam fins of eligitrle candidates.                       APPLICATIONS CAN BE ACCEPTED
                                                                                                                                                                                                                                       Eitecutve Sign off
                                                                                                                                                     AT THE LOCAL OFFICES, THROUGH
                                                                                        Responsible Staff; State Wise Admin.                                                                                               Responsible Staff: Trarsartions,
   EsclvertiseVacantPIN's an SP% MS Works,                                                                                                           THE SPB,AND THE DCPS tAIEBSITE
                                                                                                       Asst HR                                                                                                                          Personnel Officers
  and/or MDCPS website on an ongoing basis
                                                                                                                                                      nce-niews sone dule d prcmonywah in recent of
   Responsible Staff: MDCPS HR Tearoaction                                                                                                                           Caliif ate List
                 Managers 131
                                                                            InterviewsScheduled by Coonty Personnel Officer or                       ' Candidates nctFied to bring a II necessary
                                                                            Hiring Supervisor after receipt of the list. State Cffice
                                                                                                                                                                                                                                                                                 Case 3:04-cv-00251-HSO-ASH




                                                                                                                                                     d ocuments. diploma, certii cations, dr ve's
                                                                               will help with scheculing and interview panelif                       Scarce, professicna license,social security ark,
                                                                             needec. Interview questions and sctresheetcan be                                     etc, to the hssryiew
                                                                                                proiided by HP                                                                                                                  Email sertto Caunty Perscnnel Officer and/or
Applications/Pesones receiaed via emaf in                                                                                                                                                                                         I-lrieg Supervisor specifying start date and
   state office on a regular scheckle                                                                                                               'Tran minions Managerswi I p-ovide new hire
                                                                             Resporsible Staff: Transactions Marogors and Local                                                                                                                angora!for PORI
coundes.Petpicationsand mows an be                                                                  Staff                                            packetswcountyuntilsuchtirrethey are mace
  obtained and maintained locally, also                                                                                                                      amiable on IAECPS uessite                                          Stet Date must he at least one weak prior to
                                                                                                                                                                                                                                waiving class for on thejob training.(Dates to
  Responsible Staff: HR Admire.Asst and                                                                                                                                                                                              be finalized byJuly lfar SFY 2017)
            Local liking staff

                                                              Interviews Conducted Promptly by a 3 person team with questiars approved by
                                                                                       HR along with score sheet
                                                                                                                                                         P       New I-fire Recommended°r made to State Ch-Tkeald
                                                                                                                                                                                                                                                                                 Document 857-4




                                                               Candidates sign the foNsnaing foam at time ofinleruiewi Time limited Form,                     processed aft,receivingthe mmpleteo packet.Packets can
 Pre-Screening ofApplimitionsfile_sumes                                                                                                                               be receired v a USPS andiron electro
                                                               Central Registry Forn, BackgroLndCheet, and Pre-Employment Drug Screen
using.iob!Descriptions to determine list of
                                                                                                Corsent
eligible candidates(HR only determines if                                                                                                                    Responsible Safi: _Gad Hiring Agent r-arsacticn Managers                        Start Date and Unheard hag
appficans meet minimirn ocairicaticns;
                                                                   Responsible Staff: County Person'.el Officer/Local I-iring Staff, Transactions
                                                                                                   Maregers                                                                                                                             Resnoesible Staff: County Jersonnol
Responsitle Staff MOOS HRTranutrtioa                                                                                                                                                                                                      Officer and/or Hiring Supervisor
     Managers &Program Specialist




                                                                                                                                                     NOTES
                                                                                                                                                                                                                                                                                 Filed 09/03/19




                                                                                                                             IRS PROCESS IS EFFEC11VE MA5 if, MID
                                                                                                           TI-ERE ARE3 -RANSACDONS MANAGERS', DETAILED IN INNER OFFICE P.ROTOCOL
                                                                                     I F DOCJMENTS ARE MISSING WHEN SENT TO STATE OFFICE 01 IF T-I ERE ARE ISSUES WITH BACKGROUND C-IECKS, DELAYS CCCJR
                                                                                   ALLTFLSMACT1ONS' NIANAG EFS ARE AYAI _ABLE TO ASSIST WITH SC-1E:SOLING OF IN'ERVIEWS AND SERVING ON THE INTERVIEW PANEL
                                                                                   -PLANCLACTIC:NS MANAGERS ARE ENCOURAGED TO ASSIST 'FIE FIELD AND H RING MANAGERS A7FATE OFHCE WITH T-IESE PROCESSES.
                    DoF.,-kr,cri+
        mdc s                                 Proltsahan Servxes
                                                                                                                                                                                                                                                                                 Page 17 of 17




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